      Case 1:25-cv-10685-WGY             Document 144       Filed 06/18/25      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS, ET AL.,

                           Plaintiffs,                          Case No. 1:25-cv-10685 (WGY)

          v.

MARCO RUBIO, ET AL.,

                           Defendants.


                     PLAINTIFFS’ ASSENTED-TO MOTION TO SEAL

   Pursuant to Local Rule 7.2, Plaintiffs respectfully move the Court for leave to file under seal

portions of their Motion to Compel Answers to Plaintiffs’ Interrogatories, the Production of

Documents, and the Production of Information Improperly Withheld as Privileged (“Motion”).

The Motion and accompanying exhibits contain excerpts from the provisionally-sealed

administrative record, Dkt. 106, and from non-public materials provided to Plaintiffs by

Defendants in discovery. Defendants have consented to this request.

   Plaintiffs will publicly file the non-confidential portions of the Motion by 6:00 p.m. EST on

Friday, June 20, 2025. To the extent that portions of the underlying materials are later unsealed or

designated non-confidential, Plaintiffs will unseal the relevant portions of the Motion by 6:00 p.m.

EST on the next business day. See Dkt. 105 at 2 (asserting that, upon entry of a protective order,

Defendants will “reassess whether and what record content should be deemed confidential”); Dkt.

128 (requesting a protective order). The parties agree that sealed portions of the Motion will not

be used or disseminated outside of this litigation, nor outside of their intended purpose.




                                                 1
    Case 1:25-cv-10685-WGY      Document 144      Filed 06/18/25   Page 2 of 3




June 18, 2025                      Respectfully submitted,

                                    /s/ Scott Wilkens
Edwina Clarke (BBO 699702)         Scott Wilkens
David Zimmer (BBO 692715)          Talya Nevins
Zimmer, Citron & Clarke, LLP       Ramya Krishnan
130 Bishop Allen Drive             Carrie DeCell
Cambridge, MA 02139                Xiangnong Wang
(617) 676-9423                     Jackson Busch
edwina@zimmercitronclarke.com      Alex Abdo
                                   Jameel Jaffer
Noam Biale                         Knight First Amendment Institute
Michael Tremonte                     at Columbia University
Alexandra Conlon                   475 Riverside Drive, Suite 302
Courtney Gans                      New York, NY 10115
Sher Tremonte LLP                  (646) 745-8500
90 Broad Street, 23rd Floor        Scott.wilkens@knightcolumbia.org
New York, New York 10004
(212) 202-2603                     Ahilan T. Arulanantham (SBN 237841)
mtremonte@shertremonte.com         Professor from Practice
nbiale@shertremonte.com            UCLA School of Law
                                   385 Charles E. Young Dr. East
                                   Los Angeles, CA 90095
                                   (310) 825-1029
                                   arulanantham@law.ucla.edu

                                   Counsel for Plaintiffs




                                       2
      Case 1:25-cv-10685-WGY            Document 144         Filed 06/18/25      Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I, the undersigned counsel, certify that on June 18, 2025, I electronically filed the foregoing

motion in the United States District Court for the District of Massachusetts using the CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and that service will

be accomplished by the CM/ECF system.

Dated: June 18, 2025                                      /s/ Scott Wilkens
                                                          Scott Wilkens




                                                 3
